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                      UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF DELAWARE

                                               )
In re:                                         )   Chapter 11
                                               )
CHARMING CHARLIE HOLDINGS INC.,                )   Case No. 19-11534 (___)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
                                               )
In re:                                         )   Chapter 11
                                               )
CHARMING CHARLIE CANADA LLC,                   )   Case No. 19-11535 (___)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
                                               )
In re:                                         )   Chapter 11
                                               )
CHARMING CHARLIE INTERNATIONAL LLC,            )   Case No. 19-11536 (___)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
                                               )
In re:                                         )   Chapter 11
                                               )
CHARMING CHARLIE LLC,                          )   Case No. 19-11537 (___)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
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                                                                 )
In re:                                                           )    Chapter 11
                                                                 )
CHARMING CHARLIE MANHATTAN LLC,                                  )    Case No. 19-11538 (___)
                                                                 )
                          Debtor.                                )
                                                                 )
Tax I.D. No. XX-XXXXXXX                                          )
                                                                 )
                                                                 )
In re:                                                           )    Chapter 11
                                                                 )
CHARMING CHARLIE USA, INC.,                                      )    Case No. 19-11539 (___)
                                                                 )
                          Debtor.                                )
                                                                 )
Tax I.D. No. XX-XXXXXXX                                          )
                                                                 )
                                                                 )
In re:                                                           )    Chapter 11
                                                                 )
POSEIDON PARTNERS CMS, INC.,                                     )    Case No. 19-11540 (___)
                                                                 )
                          Debtor.                                )
                                                                 )
Tax I.D. No. XX-XXXXXXX                                          )
                                                                 )

               DEBTORS’ MOTION SEEKING ENTRY OF AN ORDER
               (I) DIRECTING JOINT ADMINISTRATION OF THEIR
         RELATED CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion: 1




1
    A detailed description of the Debtors and their business, and the facts and circumstances supporting the
    Debtors’ chapter 11 cases, are set forth in greater detail in the Declaration of Alvaro Bellon, Chief Financial
    Officer of Charming Charlie Holdings Inc., in Support of Debtors’ Chapter 11 Petitions and First Day Motions
    (the “First Day Declaration”), filed contemporaneously with the Debtors’ voluntary petitions for relief filed
    under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) on July 11, 2019 (the “Petition
    Date”). Capitalized terms used but not otherwise defined in this motion shall have the meanings ascribed to
    them in the First Day Declaration.


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                                             Relief Requested

         1.      The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A (the “Order”): (a) directing procedural consolidation and joint administration of their

related chapter 11 cases; and (b) granting related relief. Specifically, the Debtors request that the

Court maintain one file and one docket for all of these chapter 11 cases under the case of

Charming Charlie Holdings Inc., and that these chapter 11 cases be administered under the

following caption:

                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE

                                                               )
In re:                                                         )    Chapter 11
                                                               )
CHARMING CHARLIE HOLDINGS INC., et al.,1                       )    Case No. 19-11534 (___)
                                                               )
                                                               )    (Jointly Administered)
                         Debtors.                              )
                                                               )
1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, include: Charming Charlie Canada LLC (0693); Charming Charlie Holdings Inc. (6139);
Charming Charlie International LLC (5887); Charming Charlie LLC (0263); Charming Charlie Manhattan LLC
(7408); Charming Charlie USA, Inc. (3973); and Poseidon Partners CMS, Inc. (3302). The location of the Debtors’
headquarters is: 6001 Savoy Drive, Ste. 600, Houston, Texas 77036.

         2.      The Debtors further request that the Court order that the foregoing caption

satisfies the requirements set forth in section 342(c)(1) of the Bankruptcy Code.

         3.      Additionally, the Debtors request that an entry be made on the docket of each of

the Debtors’ chapter 11 cases, other than on the docket of the case of Charming Charlie Holdings

Inc., substantially similar to the following:

                 An order has been entered in accordance with Rule 1015(b) of the
                 Federal Rules of Bankruptcy Procedure and Rule 1015-1 of the
                 Local Rules of Bankruptcy Practice and Procedure of the United
                 States Bankruptcy Court for the District of Delaware directing
                 joint administration of the chapter 11 cases of: Charming Charlie

                                                      3
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               Holdings Inc., Case No. 19-11534; Charming Charlie Canada
               LLC, Case No. 19-11535; Charming Charlie International LLC,
               Case No. 19-11536; Charming Charlie LLC, Case No. 19-11537;
                Charming Charlie Manhattan LLC, Case No. 19-11538;
               Charming Charlie USA, Inc., Case No. 19-11539; and Poseidon
               Partners CMS, Inc., Case No. 19-11540. All further pleadings
               and other papers shall be filed in and all further docket entries shall
               be made in Case No. 19-11534 (___).

                                     Jurisdiction and Venue

       4.      The United States Bankruptcy Court for the District of Delaware (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012. The Debtors confirm their consent, pursuant to rule 7008 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and rule 9013-1(f) of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Rules”), to the entry of a final order by the Court in connection

with this motion to the extent that it is later determined that the Court, absent consent of the

parties, cannot enter final orders or judgments in connection herewith consistent with Article III

of the United States Constitution.

       5.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       6.      The bases for the relief requested herein are sections 105(a) and 342 of the

Bankruptcy Code, Bankruptcy Rule 1015(b), and Local Rules 1015-1 and 9013-1(m).

                                        Basis for Relief

       7.      Bankruptcy Rule 1015(b) provides that “[i]f . . . two or more petitions are pending

in the same court by or against . . . a debtor and an affiliate, the court may order a joint

administration of the estates.” The seven Debtor entities that commenced chapter 11 cases are




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“affiliates” as that term is defined in section 101(2) of the Bankruptcy Code. Accordingly, the

Bankruptcy Code and Bankruptcy Rules authorize the Court to grant the relief requested herein.

        8.       Further, Local Rule 1015-1 provides additional authority for the Court to order

joint administration of these chapter 11 cases:

        An order of joint administration may be entered, without notice and an
        opportunity for hearing, upon the filing of a motion for joint administration
        pursuant to Fed. R. Bankr. P. 1015, supported by an affidavit, declaration or
        verification, which establishes that the joint administration of two or more cases
        pending in this Court under title 11 is warranted and will ease the administrative
        burden for the Court and the parties. An order of joint administration entered in
        accordance with this Local Rule may be reconsidered upon motion of any party in
        interest at any time. An order of joint administration under this Local Rule is for
        procedural purposes only and shall not cause a “substantive” consolidation of the
        respective debtors’ estates.

        9.       Joint administration is generally non-controversial, and courts in this district

routinely order joint administration in cases with multiple related debtors. See, e.g., In re

Southcross Energy Partners, L.P., No. 19-10702 (MFW) (Bankr. D. Del. Apr. 2, 2019)

(directing joint administration of chapter 11 cases); In re Pernix Sleep, Inc., No. 19-10323 (CSS)

(Bankr. D. Del. Feb. 21, 2019) (same); In re Imerys Talc Am., Inc., No. 19-10289 (LLS) (Bankr.

D. Del Feb. 14, 2019) (same); In re LBI Media, Inc., No. 18-12655 (CSS) (Bankr. D. Del. Nov.

21, 2018) (same); In re ONE Aviation Corp., No. 18-12309 (CSS) (Bankr. D. Del. Oct. 11, 2018)

(same); In re ATD Corp., No. 18-12221 (KJC) (Bankr. D. Del. Oct. 5, 2018) (same). 2

        10.      Given the integrated nature of the Debtors’ operations, joint administration of

these chapter 11 cases will provide significant administrative convenience without harming the

substantive rights of any party in interest. Many of the motions, hearings, and orders in these

chapter 11 cases will affect each and every Debtor entity. The entry of the Order directing joint


2
    Because of the voluminous nature of the orders cited herein, such orders have not been attached to this motion.
    Copies of these orders are available upon request of the Debtors’ proposed counsel.


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administration of these chapter 11 cases will reduce fees and costs by avoiding duplicative filings

and objections. Joint administration also will allow the U.S. Trustee and all parties in interest to

monitor these chapter 11 cases with greater ease and efficiency.

        11.    Moreover, joint administration will not adversely affect the Debtors’ respective

constituencies because this motion seeks only administrative, not substantive, consolidation of

the Debtors’ estates. Parties in interest will not be harmed by the relief requested; instead,

parties in interest will benefit from the cost reductions associated with the joint administration of

these chapter 11 cases. Accordingly, the Debtors submit that the joint administration of these

chapter 11 cases is in the best interests of their estates, their creditors, and all other parties in

interest.

                                               Notice

        12.    The Debtors will provide notice of this motion to:            (a) the Office of the

U.S. Trustee for the District of Delaware; (b) the holders of the 30 largest unsecured claims

against the Debtors (on a consolidated basis); (c) counsel to the DIP Agents and the Prepetition

ABL Agents; (d) counsel to the Prepetition Term Loan Agent and the Prepetition Vender

Financing Agent; (e) the United States Attorney’s Office for the District of Delaware; (f) the

Internal Revenue Service; (g) the United States Securities and Exchange Commission; (h) the

state attorneys general for all states in which the Debtors conduct business; and (i) any party that

requests service pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the

nature of the relief requested, no other or further notice need be given.

                                         No Prior Request

        13.    No prior request for the relief sought in this motion has been made to this or any

other court.



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        WHEREFORE, the Debtors respectfully request entry of an order, substantially in the

form attached hereto as Exhibit A, (a) granting the relief requested herein and (b) granting such

other relief as is just and proper.

Dated: July 11, 2019
       Wilmington, Delaware
                                          /s/ Domenic E. Pacitti
                                          Domenic E. Pacitti (DE Bar No. 3989)
                                          Michael W. Yurkewicz (DE Bar No. 4165)
                                          Sally E. Veghte (DE Bar No. 4762)
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                                          - and -

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                                          Proposed Co-Counsel to the Debtors and Debtors in
                                          Possession
